    Case 17-06078-MM7                  Filed 05/07/20            Entered 05/07/20 18:05:02   Doc 408     Pg. 1 of 1


                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA

                                                           Minute Order
Hearing Information:
                                                                                                                        0.00
                    Debtor:     CORE SUPPLEMENT TECHNOLOGY, INC.
              Case Number:      17-06078-MM7          Chapter: 7
      Date / Time / Room:       THURSDAY, MAY 07, 2020 10:00 AM DEPARTMENT 1
       Bankruptcy Judge:        MARGARET M. MANN
        Courtroom Clerk:        LISA CRUZ
          Reporter / ECR:       SUE ROSS

Matter:
              MOTION TO DISGORGE COMPENSATION PAID TO CHAPTER 11 CHIEF RESTRUCTURING OFFICER,
              RICHARD FEFERMAN FILED BY TRUSTEE (fr. 4/9/20)



Appearances:

        GARY E. SLATER, ATTORNEY FOR RICHARD M. KIPPERMAN (Telephonic appearance)
        RICHARD M. KIPPERMAN, PRESENT (Telephonic appearance)
        ELIYAHU NESS, ATTORNEY FOR CORPORATE RECOVERY ASSOCIATES, LLC, RICHARD FEFERMAN (Telephonic
        appearance)
        JASON DENNIS, ATTORNEY FOR RICHARD FEFERMAN (Telephonic appearance)
        RICHARD FEFERMAN, PRESENT (Telephonic appearance)

Disposition:                                                                                               1.00

        Mr. Dennis read proposed terms of stipulation on the record.

        Matter off calendar pending submission of stipulation.




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